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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------x
HEATHER GRAY,

                  Plaintiff,
                                                         COMPLAINT
                       v.
                                                         DEMAND FOR JURY TRIAL
AMERICAN PARKINSON DISEASE
ASSOCIATION,


                   Defendant.
-----------------------------------------------------x
                  Plaintiff Heather Gray alleges as follows:

                                             INTRODUCTION

        1.       Defendant's website states "All of us at the American Parkinson Disease

Association (APDA) support equality for all...." With respect to Plaintiff's pay, this could not be

farther from the truth, as she was paid significantly less than her male counterpart at APDA.

                                     JURISDICTION AND VENUE

        2.       Plaintiff Heather Gray brings this action against Defendant alleging discrimination

claims brought under the Equal Pay Act, 29 U.S. Code §§ 206(d), 216(b) (“EPA”), the New York

Equal Pay Act, NYLL § 194 (“NY EPA”), New York City Human Rights Law, (“NYCHRL”),

and the New York Administrative Code §§ 8-107(1), et al.
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        3.     This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under Section 1981. This Court has supplemental jurisdiction over the

New York state law claims, as they are so related to the claims in this action within the Court’s

original jurisdiction that they form part of the same case or controversy under Article III of the

United States Constitution.

        4.     Venue is proper in this District because Defendant conducts business in this

District, and the acts and/or omissions giving rise to the claims herein alleged took place in this

District.

                                        THE PARTIES

        5.     Defendant American Parkinson Disease Association (“APDA”) is a New York

non-for-profit corporation. APDA aims to "ease the burden" for Americans with Parkinson's

disease, as well as for their families, through nationwide Information and Referral Centers and

support groups. APDA also pursues efforts to find a cure for Parkinson's, as they fund centers

for advanced research and award grants to researchers as means to fund them.

        6.     Plaintiff Heather Gray (“Plaintiff”) is a New York resident that has been

employed by Defendant for about 20 years. Her title since 2016 has been Programs and

Research Manager.

                                   BACKGROUND FACTS

        7.     Plaintiff began working for Defendant in or about the year 2000.

        8.     Plaintiff is an excellent employee and has consistently received positive

employment reviews.

        9.     In 2016, Plaintiff was promoted to Programs and Research Manager. Her salary

was increased to $70,000 and is now $72,000.




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       10.     As Programs and Research Manager, Plaintiff's job duties include managing

programs, working on certain portions of the website, administering grant life cycle software,

managing the administrative process of receiving and awarding grants proposals, and running a

virtual support group program around the country.

       11.     In or about January 2018, APDA hired Phil Franchina as Manager of IT.

       12.     Mr. Franchina has the same Manager title as Plaintiff.

       13.     Mr. Franchina reports to a Vice President, Plaintiff to a Senior Vice President and

the President/CEO.

       14.     Mr. Franchina's job duties include coordinating with vendors that provide IT

service to APDA, servicing the website, servicing donor software and other technological issues.

       15.     Mr. Franchina's starting pay was $90,000.

       16.     Plaintiff's job and Mr. Franchina's job were not identical. But Plaintiff's duties had

at least equal skill, responsibility, and experience required as Mr. Franchina's.

       17.     Defendant paid Plaintiff less than Mr. Franchina because of her gender and will not

be able to point to any bona fide factor other than gender to justify paying Plaintiff, a 20 year

employee, so much less than Mr. Francina.

       18.     Plaintiff's pension entitlement when she exercises it will also be significantly

impacted by the fact that her salary was suppressed because of her gender.

       19.     As a result of Defendants' illegal actions, Plaintiff has suffered and continues to

suffer lost income and serious emotional distress.

                                  FIRST CLAIM FOR RELIEF
                 Federal Equal Pay Act (“EPA”), 29 U.S.C. §§ 206(d), 216(b)

       20.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.



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       21.     Defendants have discriminated against Plaintiff within the meaning of the Equal

Pay Act of 1963, 26 U.S.C. §§ 206 et seq., by paying her less than similarly situated male

colleagues even though Plaintiff performed similar duties requiring the same skill, effort, and

responsibility as her male counterpart.

       22.     The differential in pay between male and female employees is/was not due to

seniority, merit, quantity or quality of production, or a factor other than sex.

       23.     The foregoing conduct constitutes a willful violation of the EPA within the

meaning of 29 U.S.C. § 255(a).

       24.     Plaintiff seeks all legal and equitable remedies available for violations of the

EPA, including unpaid compensation, liquidated damages, attorneys’ fees and costs, post-

judgment interest, and such other legal and equitable relief as this Court deems just and proper.

                              SECOND CLAIM FOR RELIEF
                          New York State Equal Pay Act (“NY EPA”),
                                 N.Y. Lab. Law §§ 194, 198


       25.      Plaintiffs realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

       26.     Defendants have discriminated against Plaintiff within the meaning of the New

York Equal Pay Act, N.Y. Lab. Law § 194, by paying her less than a similarly situated male

colleague even though Plaintiff performed similar duties requiring the same skill, effort, and

responsibility as her male counterpart.

       27.     The differential in pay between male and female employees is/was not due to

seniority, merit, quantity or quality of production, or a bona fide factor other than sex.

       28.     The foregoing conduct constitutes a willful violation of the New York EPA within

the meaning of N.Y. Lab. Law 198(1-a).



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          29.    Plaintiff seeks all legal and equitable remedies available for violations of the NY

EPA, including unpaid compensation, liquidated damages, attorneys’ fees and costs, pre- and

post-judgment interest, and such other legal and equitable relief as this Court deems just and

proper.

                               THIRD CLAIM FOR RELIEF
                New York City Human Rights Law (“NYCHRL”) Discrimination,
                             N.Y.C. Admin. Code §§ 8-101 et seq.

          30.      Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

          31.    Defendants have discriminated against Plaintiff on the basis of her gender by

paying her less than similarly situated male employees.

          32.    Defendants’ conduct was outrageous and malicious, was intended to injure, and

was done with reckless indifference to Plaintiff’s statutorily-protected rights.

          33.    As a result of Defendants’ unlawful conduct, Plaintiff is entitled to compensatory

damages, including damages for economic loss and garden variety emotional distress; punitive

damages; attorneys’ fees and costs; and such other legal and equitable relief as this Court deems

just and proper.

          34.    The New York City Commission on Human Rights will be notified and sent a

copy of this Complaint.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for relief as follows:

          A.     An award of damages, according to proof, including, back pay, front pay,

                 compensatory damages, emotional distress damages, liquidated damages, and

                 punitive damages, to be paid by Defendant;

          B.     Penalties available under applicable laws;


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        C.      Costs of action incurred herein, including expert fees;

        D.      Attorneys’ fees;

        E.      Pre-judgment and post-judgment interest, as provided by law; and

        F.      Such other and further legal and equitable relief as this Court deems necessary, just

                and proper.



 Dated: New York, New York               Respectfully submitted,
        May 6, 2021
                                         JOSEPH & KIRSCHENBAUM LLP


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                                   DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a jury trial on all causes of action and claims with respect to

which she has a right to jury trial.




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